Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 1 of 94 Page ID #:415




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    6
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   10
   11 Attorneys for Plaintiffs
   12
                                UNITED STATES DISTRICT COURT
   13
                     CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   14
   15 Netflix Studios, LLC; Amazon Content    Case No. 2:18-cv-230
      Services, LLC; Columbia Pictures
   16 Industries, Inc.; Disney Enterprises,   DECLARATION OF MICHAEL B.
      Inc.; Paramount Pictures Corporation;   DESANCTIS IN SUPPORT OF
   17 Twentieth Century Fox Film              PLAINTIFFS’ APPLICATION FOR
      Corporation; Universal City Studios     TEMPORARY RESTRAINING
   18 Productions LLLP; Warner Bros.          ORDER
      Entertainment Inc.
   19
                    Plaintiffs,               Ctrm: 5A (Hon. Michael W. Fitzgerald)
   20                                         Filed concurrently:
             vs.                               Notice of Motion and Motion;
   21                                          Memorandum of Points and
      Dragon Media Inc. d/b/a Dragon Box;      Authorities in Support Thereof
   22 Paul Christoforo; Jeff Williams.         Declaration of Matthew Fulton
                                               Declaration of David Kaplan
   23                   Defendants.            [Proposed] Temporary Restraining
                                              Order and Order to Show Cause Why
   24                                         Preliminary Injunction Should Not Issue
   25
   26
   27
   28   40797027.1
                                                            Declaration of Michael B. DeSanctis
                                                          CASE NO. 2:18-cv-00230 - MWF (AS)
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 2 of 94 Page ID #:416




    1                 I, Michael B. DeSanctis, hereby declare:
    2            1.   I am a partner in the law firm of Munger, Tolles & Olson LLP, counsel
    3 of record for Plaintiffs in this action. I have knowledge of the matters set forth in
    4 this declaration. If called as a witness, I could and would testify competently to the
    5 facts stated in this declaration.
    6            2.   The parties participated in an unsuccessful mediation before Magistrate
    7 Judge Alka Sagar on December 10, 2018. On December 11, 2018, I learned that
    8 Dragon Media had announced on its Facebook page that it was launching "My TV
    9 Hub" just hours after our failed mediation on December 10, 2018.
   10            3.   Counsel for Defendants, Mr. Matthew Faust, and I or my colleague Mr.
   11 Kelly M. Klaus have been discussing possible settlement since Mr. Faust first began
   12 representing Defendants at the end of March 2018. As part of these discussions,
   13 Defendants represented that they would either shut down the Dragon Box service or
   14 operate a lawful business. Prior to my discussions with Mr. Faust, I am informed
   15 and believe that my colleague Mr. Klaus discussed these same two alternatives with
   16 Mr. Faust's predecessor, Mr. Erik Syverson.
   17            4.   Attached hereto as Exhibit A is a true and correct copy of a December
   18 17, 2015 email from Paul Christoforo to “Whom It May Concern,” produced by
   19 Defendants Dragon Media, Inc. and Christoforo as DMI000720-21.
   20            5.   Attached hereto as Exhibit B is a true and correct screenshot from a
   21 Dragon Box device depicting results for Coco on the addon “Covenant” on
   22 December 19, 2017. Munger, Tolles & Olson employees working at my direction
   23 obtained this screenshot from a Dragon Box device.
   24            6.   Attached hereto as Exhibit C is a true and correct screenshot of an of
   25 the Dragon Box menu as it appeared on December 19, 2017. Munger, Tolles &
   26 Olson employees working at my direction obtained this screenshot from a Dragon
   27 Box device.
   28
        40797027.1
                                                     -2-
                                      Declaration of Michael B. DeSanctis
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 3 of 94 Page ID #:417




    1            7.    Attached hereto as Exhibit D is a true and correct screenshot of an
    2 advertisement posted on the Dragon Media, Inc. Facebook page. Munger, Tolles &
    3 Olson employees working at my direction obtained this screenshot from
    4 www.facebook.com/thedragonbox.
    5            8.    Attached hereto as Exhibit E is a true and correct screenshot of “The
    6 Dragon Box” Facebook page showing a September 2, 2018, post by Dragon Media,
    7 Inc. Munger, Tolles & Olson employees working at my direction obtained this
    8 screenshot from www.facebook.com/thedragonbox.
    9            9.    Attached hereto as Exhibit F is a true and correct screenshot of “The
   10 Dragon Box” Facebook page showing the comments in response to the September 2,
   11 2018, post by Dragon Media, Inc. depicted in Exhibit E. Munger, Tolles & Olson
   12 employees working at my direction obtained this screenshot from
   13 www.facebook.com/thedragonbox.
   14            10.   Attached hereto as Exhibit G is a true and correct screenshot of “The
   15 Dragon Box” Facebook page showing a post made on October 19, 2018. Munger,
   16 Tolles & Olson employees working at my direction obtained this screenshot from
   17 www.facebook.com/thedragonbox.
   18            11.   Attached hereto as Exhibit H is a true and correct screenshot of “The
   19 Dragon Box” Facebook page showing a post made on September 18, 2018. Munger,
   20 Tolles & Olson employees working at my direction obtained this screenshot from
   21 www.facebook.com/thedragonbox.
   22            12.   Attached hereto as Exhibit I is a true and correct screenshot of “The
   23 Dragon Box” Facebook page showing a post made on October 15, 2018. Munger,
   24 Tolles & Olson employees working at my direction obtained this screenshot from
   25 www.facebook.com/thedragonbox.
   26            13.   Attached hereto as Exhibit J is a true and correct screenshot of “The
   27 Dragon Box” Facebook page showing a post made on November 9, 2018. Munger,
   28
        40797027.1
                                                      -3-
                                       Declaration of Michael B. DeSanctis
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 4 of 94 Page ID #:418




    1 Tolles & Olson employees working at my direction obtained this screenshot from
    2 www.facebook.com/thedragonbox.
    3            14.   Attached hereto as Exhibit K is a true and correct screenshot of an
    4 email sent by Dragon Media, Inc. to its customers, which was also posted on the
    5 “The Dragon Box” Facebook page on October 15, 2018. Munger, Tolles & Olson
    6 employees working at my direction obtained this screenshot from
    7 https://mailchi.mp/thedragonbox/were-back-with-the-new-dragon-box-db5-v2-and-
    8 our-new-legal-cable-service-blend-tv-
    9 1305061?fbclid=IwAR0rU9iaQ378mYlqs4FLLNizFon9vwXo8s69rj5iWo_5HsJDS
   10 eHEQse5_vg
   11            15.   Attached hereto as Exhibit L is a true and correct screenshot of an
   12 advertisement for BlendTV posted on the Dragon Media, Inc. website. Munger,
   13 Tolles & Olson employees working at my direction obtained this screenshot from
   14 www.thedragonbox.com
   15            16.   Attached hereto as Exhibit M is a true and correct screenshot of the My
   16 TV Hub webpage as it appeared on December 14, 2018. Munger, Tolles & Olson
   17 employees working at my direction obtained this screenshot from
   18 https://mytvhub.net/
   19            17.   Attached hereto as Exhibit N is a true and correct screenshot of the
   20 “mytvhub” webpage as it appeared on December 14, 2018. Munger, Tolles & Olson
   21 employees working at my direction obtained this screenshot from
   22 https://mytvhub.net/
   23            18.   Attached hereto as Exhibit O is a true and correct screenshot of “The
   24 Dragon Box” Facebook page showing a post made on December 10, 2018. Munger,
   25 Tolles & Olson employees working at my direction obtained this screenshot from
   26 www.facebook.com/thedragonbox.
   27            19.   Attached hereto as Exhibit P is a true and correct screenshot of an email
   28 sent by Dragon Media, Inc. to its customers, which was also posted on the “The
        40797027.1
                                                      -4-
                                       Declaration of Michael B. DeSanctis
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 5 of 94 Page ID #:419




    1 Dragon Box” Facebook page on December 10, 2018. Munger, Tolles & Olson
    2 employees working at my direction obtained this screenshot from
    3 https://mailchi.mp/thedragonbox/were-back-with-the-new-dragon-box-db5-v2-and-
    4 our-new-legal-cable-service-blend-tv-
    5 1305109?fbclid=IwAR1GKx8N5UeMH001UxUrW6UjA6pDxfSr8COLFE3NwVCi
    6 M0oVljZTqlS7rVQ
    7            20.   Attached hereto as Exhibit Q is a true and correct screenshot of “The
    8 Dragon Box” Facebook page showing a post made on November 30, 2018. Munger,
    9 Tolles & Olson employees working at my direction obtained this screenshot from
   10 www.facebook.com/thedragonbox.
   11            21.   Attached hereto as Exhibit R is a list of Plaintiffs’ Copyrighted Works
   12 that were available for streaming on BlendTV.
   13            22.   Attached hereto as Exhibit S is the Certificate of Registration to the
   14 motion picture entitled, Into the Woods, and bearing the U.S. Copyright Registration
   15 No. PA 1-932-175.
   16            23.   Attached hereto as Exhibit T is the Certificate of Registration to the
   17 motion picture entitled, Deadpool, and bearing the U.S. Copyright Registration No.
   18 PA 1-977-152.
   19            24.   Attached hereto as Exhibit U is the Certificate of Registration to the
   20 motion picture entitled, Jurassic World, and bearing the U.S. Copyright Registration
   21 No. PA 1-946-359.
   22            25.   Attached hereto as Exhibit W is the Certificate of Registration to the
   23 motion picture entitled, Wonder Woman, and bearing the U.S. Copyright
   24 Registration No. PA 2-036-078.
   25            26.   Attached hereto as Exhibit X is the Certificate of Registration to the
   26 motion picture entitled, The Amazing Spider-Man 2, and bearing the U.S. Copyright
   27 Registration No. PA 1-889-675.
   28
        40797027.1
                                                      -5-
                                       Declaration of Michael B. DeSanctis
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 6 of 94 Page ID #:420




    1            27.   Attached hereto as Exhibit Y is the Certificate of Registration to the
    2 motion picture entitled, Daddy’s Home, and bearing the U.S. Copyright Registration
    3 No. PA 1-966-777.
    4            28.   Attached hereto as Exhibit Z is the Certificate of Registration to the
    5 motion picture entitled, Harry Potter 5, and bearing the U.S. Copyright Registration
    6 No. PA 1-355-547.
    7            29.   Attached hereto as Exhibit AA is the Certificate of Registration to the
    8 motion picture entitled, The Purge: Anarchy, and bearing the U.S. Copyright
    9 Registration No. PA 1-908-605.
   10            30.   Attached hereto as Exhibit BB is a true and correct screenshot of an
   11 advertisement posted on the Dragon Media, Inc. Facebook page. Munger, Tolles &
   12 Olson employees working at my direction obtained this screenshot from
   13 www.facebook.com/thedragonbox.
   14            31.   Attached hereto as Exhibit CC is a true and correct screenshot of “The
   15 Dragon Box” webpage as it appeared on December 14, 2018. Munger, Tolles &
   16 Olson employees working at my direction obtained this screenshot from
   17 https://www.thedragonbox/how-it-works/
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        40797027.1
                                                      -6-
                                       Declaration of Michael B. DeSanctis
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 7 of 94 Page ID #:421
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 8 of 94 Page ID #:422




                               Exhibit A




                                     Exhibit A
                                        -8-
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                                                                                   H­Tech Distributions
                                                                                    
                                                                                   Bruce Tandy
                                                                                   Vice President of Engineering
                                                                                   and Business Development

                                                                                   H­Tech Distributions,
                                                                                   Inc.
                                                                                   15150 Tradesman Drive
                                                                                   San Antonio, TX  78249 
                                                                                   Cell / Text: 210­998­1799
                                                                                   Email: bruce@htechdistribution
                                                                                   s.com




                         

                                   
                                   




                                                                    
                                                                            
                                                                
                                                                                        


                                                                                                                                      
                                                                                                                                          
                                                                                                                                  
                                                          l                                                                   
                                                                                                     l 

 Begin forwarded message:

 From: Kevin Forte <kevin@digixstream.com>
 Subject: Re: Unacceptable things going on
 Date: December 17, 2015 at 8:43:07 PM HST
 To: The Dragon Box <cstrophic@hotmail.com>
 Cc: Jung Kwak <jkwak30@gmail.com>, Bruce Tandy <bruce@digixstream.com>, Matthew Faust
 <faust@shariffaust.com>, Gus Hurst <gushurst3@gmail.com>

 Paul,

 Let me first address a few things in your first email below. 

 We do not control ANY of the content you put into your wizard and the technology we provide you is the same as 
 that which we provide our other OEM partners.  Your comment:

         "I also want to make crystal clear someone tampered with my wizard, I ran my wizard on a brand­new box 
         today and there were 15 apps missing”

 This comment is in regards to your wizard content which you have 100% control over.  These files are hosted on 
 your own server and you control the contents of them. We do not create or control this portion of the operation of 
                                                   DMI 000720
 your box in any way.  There are some of us at DigiXstream who are willing to help you and have spent many hours 

                                                                                                     Exhibit A
                                                                                                        -9-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 10 of 94 Page ID #:424
 doing so to switch up your skin, but ultimately, it is you who controls its contents and its configuration.  Our other 
 OEM partners have the same relationship with us.  You mention that Spencers box has something and yours does 
 not.  This is because Spencer has a huge community of guys who have helped him create and configure his skin. 
  We have done nothing more for Spencer than we have done for you.  I gave him the same warning about 
 configuring his skin before we roll out Jarvis and he elected to push out his changes anyway.  If you want to do the 
 same, you have control over that yourself and can do so.

 I have spent most of the day and into tonight trying to complete the jarvis code and we have encountered video 
 playback errors so this will not be released this week.

 As such, I have built you a new build of Isengard with you skin pre­loaded.  Im testing it now. 

 Kevin Forte
 kevin@digixstream.com
 www.digixstream.com




        On Dec 17, 2015, at 2:29 PM, The Dragon Box <cstrophic@hotmail.com> wrote:

        To whom it may concern, 

        Im just looking for some communication guys, I have touched based on numerous topics over 
        numerous days now and I still have not heard back. JK did say it would be done today that still 
        remains a mystery to me as I have not gotten any email reply or call or Skype or message. Hoping 
        everyone is having a good day and hoping to hear from someone soon.

        I am copying my attorney on this as well as you can see he is paying attention as he replied to the 
        last email I copied him on. I am not sure if you guys are brushing this under the rug, laughing or not 
        thinking this is serious or time sensitive issue, but it is so if someone can please get back to me that 
        would be fantastic. 

        Sorry for having to keep emailing and busting balls believe me If i didn't have to rely on you for 
        anything I would not but that is not the case as you are my Distributor/Partner/Programers.

         I have WAY to many things going on running a multi million dollar company than to have to take time 
        out of my day to write emails, send skypes and texts as well as get aggravated and stressed out so I 
        do apologize for any inconvenience I am causing you but it is what it is.  


        <logo.png>
        Dragon Media Inc.
           Regards,
            President
           Paul Christoforo
           Cell: 305‐303‐5584
           Fax:  800‐ 492‐5455
           www.TheDragonBox.com

        The information contained in this message may be privileged and/or confidential. if the reader of this 
        message is not the intended recipient, or an employee or agent responsible for delivering this 
        message to the intended recipient, you are hereby notified that any dissemination, distribution or 
        copying of this communication is strictly prohibited. If you have received this message in error, please 
        notify us immediately by replying to this message and then deleting it from your computer.




                                                    DMI 000721
               Begin forwarded message:

                                                       Exhibit A
                                                         -10-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 11 of 94 Page ID #:425




                                 Exhibit B




                                     Exhibit B
                                       -11-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 12 of 94 Page ID #:426




                                     Exhibit B
                                       -12-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 13 of 94 Page ID #:427




                                 Exhibit C




                                     Exhibit C
                                       -13-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 14 of 94 Page ID #:428




                                     Exhibit C
                                       -14-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 15 of 94 Page ID #:429




                                 Exhibit D




                                     Exhibit D
                                       -15-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 16 of 94 Page ID #:430




                                     Exhibit D
                                       -16-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 17 of 94 Page ID #:431




                                 Exhibit E




                                     Exhibit E
                                       -17-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 18 of 94 Page ID #:432




                                     Exhibit E
                                       -18-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 19 of 94 Page ID #:433




                                 Exhibit F




                                     Exhibit F
                                       -19-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 20 of 94 Page ID #:434




                                     Exhibit F
                                       -20-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 21 of 94 Page ID #:435




                                Exhibit G




                                     Exhibit G
                                       -21-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 22 of 94 Page ID #:436

        The Dragon Box                                                                                   Liz   Home      Create



                             Like       Follow        Share                                                            Shop Now                    Send Message




                                                                                                                ABOUT THE DRAGON BOX


                                 The Dragon Box                                                                 Our Story
                                 October 19 at 3:18 PM ·
The Dragon Box                                                                                                  Why choose Dragon Box products?
                         Attention Everyone:
@TheDragonBox                                                                                                   Dragon Box devices are simple to set-up
                         If you haven’t checked out BlendTV please give it a chance. We know all
                                                                                                                and easy-to-use. They come wi...
Home                     these updates and changes are not what you all wanted but the mounting
                         pressure from all angles brought us to make the decision to update the                 See More
Shop                     boxes and go with a legal cable service.

Posts                    We can name off about 27 box companies and some others that are about
                         ready to be sued so while our case drags out just keep that in mind we’re not                   Responsive to messages
Photos                   the first and won’t be the last.

Community                With all the being said we could really use your support and help getting
                                                                                                                What's New
                         BlendTV off the ground and the word spread, legal fee’s are bringing the
Videos                   company close to bankruptcy.
                                                                                                                      See new items in the shop.
About                    BlendTV is going to be an amazing service our goal is to get you as much
                         content as we can for as less as we can with a great piece of hardware
Notes                    which will be getting great updates for more ease of use, voice commands               Community                                     See All
                         with Alexa, gaming options and much more.
Info and Ads                                                                                                          Invite your friends to like this Page
                         Everyone is here knew that this wasn’t going to last forever Hollywood was
                         losing to much money and all good things must come to an end it was a fun                    11,086 people like this
 Create a Page
                         5 years. The boxes and the former content is still available on the internet
                                                                                                                      11,209 people follow this
                         we just can not help with any facilitation what so ever.
                         So we just wanted to ask you give BlendTV a try, share it with your family
                         and friends split the bill, give us feedback we will listen and your feedback          About                                         See All

                         will help shape what BlendTV is and can be or will be!
                         Trust me if we could give you all free months we would but that’s not an
                         option!
                         You can sign up for your free 7-Day Trial at
                         www.thedragonbox.com/BlendTV
                                                                                                                      2740 Circulo Santiago
                                                                                                                      Carlsbad, California 92008
                                                                                                                      Get Directions
                                                                                                                      Typically replies within an hour
                                                                                                                      Send Message

                                                                                                                      www.thedragonbox.com

                                                                                                                      Shopping & Retail · Electronics

                                                                                                                      Price Range $$$

                                                                                                                      Hours
                                                                                                                      Always Open

                                                                                                                      Suggest Edits



                         THEDRAGONBOX.COM                                                                       Pages Liked by This Page
                                                                        The Dragon Box's Post                      Chat (60)

                                                                     Exhibit G
                                                                       -22-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 23 of 94 Page ID #:437
              BlendTV – The Dragon Box
                                                                                                              The Dragon Box Florida                   Like
                    5                                                                  1 Comment
                  Like          Follow                                                                   Shop Now
                          Like                      Comment                 Share
                                                                                                              The Dragon Box 242 …                     Like
              Most Relevant


                      Write a comment...
                                                                                                              New to you                               Like
                      Stacey Corbett Have no clue what to do with my BD5. I haven't
                      used it in over8- 7months..I got my parents another box because
                      they're here in the Northshore area and it was just easier. Same
                      box, in fact I believe at some point this business and that business
                                                                                                              Dragon Community                         Like
                      were t… See More
                      Like · Reply · 1w

                               The Dragon Box That company will be getting sued soon               English (US) · Español · Português (Brasil) ·
                               you don’t need to say the name Hollywood knows who they             Français (France) · Deutsch
                               are. You should warn them and be-careful take it from us
                               and our experience getting sued for hundreds of millions of
                               Dollars                                                             Privacy · Terms · Advertising · Ad Choices      ·
                                          . 90% of all box companies wil… See More
                                                                                                   Cookies · More
                               Like · Reply · 1w · Edited                                          Facebook © 2018

                              View more replies



                      The Dragon Box
                      February 8 ·



                 EULA
                 EULA Agreement

                 End User License Agreement

                 (FOR STREAMING PLAYER)
                 IMPORTANT: READ THIS END USER LICENSE AGREEMENT
                 CAREFULLY BEFORE YOU USE A DRAGON MEDIA INC.
                 STREAMING PLAYER. ALSO REVIEW THE IMPORTANT
                 PRODUCT INFORMATION THAT MAY HAVE BEEN PROVIDED
                 WITH YOUR DRAGON MEDIA INC. STREAMING PLAYER.

                 Overview
                 See More


                    14                                                       12 Comments 1 Share


                          Like                      Comment                 Share


              Most Relevant


                      Write a comment...


                      Nicholas Fringuelli How do i watch nfl redzone on the box?
                      Like · Reply · 7w

                               The Dragon Box you subscribe to Blend TV
                               Like · Reply · 7w

                              View more replies


                      Shawn T. Moore How much is it to make it stream fight pass. My
                      hdr has amazon, my PS4 has wwe and my xfinity has Netflix. All I
                      need is my fight pass.
                      Like · Reply · 6w

                               The Dragon Box Ill get back to you on that not much
                               though
                               Like · Reply · 6w              The Dragon Box's Post                    Chat (60)

                                                              Exhibit G
                                                                -23-
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                                Exhibit H




                                     Exhibit H
                                       -24-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 25 of 94 Page ID #:439

        The Dragon Box                                                                                         Liz   Home      Create




The Dragon Box
@TheDragonBox

Home

Shop
                             Like         Follow        Share                                                                Shop Now                    Send Message
Posts
                                                                                                                      ABOUT THE DRAGON BOX
Photos
                                 The Dragon Box                                                                       Our Story
Community
                                 September 18 ·
                                                                                                                      Why choose Dragon Box products?
Videos                   Mandatory firmware update!!!
                                                                                                                      Dragon Box devices are simple to set-up
About                    This update today is MANDATORY, please make sure you run it.
                                                                                                                      and easy-to-use. They come wi...
                         It’s going to remove tracking software that can be used to track what your
Notes                                                                                                                 See More
                         watching which could be used to fine you by Hollywood.
Info and Ads             It’s going to fix an android vulnerability to block ODM access to your device.
                         “Correction from my previous post”
                                                                                                                               Responsive to messages
 Create a Page           It’s going to update your launcher with blend and speed up your box.
                         We will put kodi in ADDONS so you can easily down load it from the play
                         store by clicking on it.                                                                     What's New
                         We’re adding in services and extra feature as well, please make sure you
                                                                                                                            See new items in the shop.
                         run the update or eventually your box will no longer get future updates as we
                         transition Programers and companies it’s best you run the update. We have
                         been working on this to better the box and protect your devices and
                                                                                                                      Community                                     See All
                         identities every MAC address on every box is tied to a customer we need to
                         get the update pushed and everyone needs to run it ASAP.                                           Invite your friends to like this Page
                         Thank you
                                                                                                                            11,085 people like this
                            28                                                          36 Comments 7 Shares                11,208 people follow this

                                     Like                       Comment                  Share
                                                                                                                      About                                         See All

                         All Comments


                                 Write a comment...


                                 Chris Pettengill Why was this "tracking software" originally put on
                                 the box?
                                                                                                                            2740 Circulo Santiago
                                 Like · Reply · 5w                                                                          Carlsbad, California 92008
                                                                                                                            Get Directions
                                        View previous replies
                                                                                                                            Typically replies within an hour
                                                                                                                            Send Message
                                         The Dragon Box Alley Catyb it wasn't needed to as you
                                         were all happy with the middleman hooking you up with free                         www.thedragonbox.com
                                         tools to get add-ons and custom KODI builds and access to
                                         copyright movies and tv shows. We never questioned it until                        Shopping & Retail · Electronics
                                         we learned that with all thats going on its s not safe and they
                                         have no right to that level of access and info                                     Price Range $$$
                                                                                                           1                Hours
                                         Like · Reply · 5w
                                                                                                                            Always Open
                                        View more replies
                                                                                                                            Suggest Edits
                                 Stacey Corbett So do u still need a remote? I was using a mouse
                                 and because you had to go on Google and type I've been without a
                                                                                                                      Pages Liked by This Page
                                 box. Can I use a mouse for this
                                                                          The Dragon Box's Post                          Chat (66)

                                                                          Exhibit H
                                                                            -25-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 26 of 94 Page ID #:440
                         Like · Reply · 5w
        The Dragon Box                                                                            Liz   Home      Create
                                The Dragon Box you can use a mouse                                                  Dragon Community                         Like

                                Like · Reply · 5w

                              View more replies
                                                                                                                    New to you                               Like
                         Glen Dellinger My DB5 says I need to update but when I run the
                         update in the TV App store it says there are no updates available.
                         Advice?
                         Like · Reply · 5w                                                                          The Dragon Box 242 …                     Like

                                The Dragon Box Not yet today
                                Like · Reply · 5w
The Dragon Box                                                                                           English (US) · Español · Português (Brasil) ·
                                                                                                         Français (France) · Deutsch
@TheDragonBox            SteveRayne MccabeTomori Any word on the update for DB4?
                         Like · Reply · 5w                                                               Privacy · Terms · Advertising · Ad Choices      ·
Home                                                                                                     Cookies · More
                                The Dragon Box Still working on it                                       Facebook © 2018
Shop
                                Like · Reply · 5w
Posts
                              View more replies

Photos
                         Luhia Aina I have a stupid Question: sorry I’m a newbie to our
Community                dragon box and need pictures     how and where exactly do I
                         update my box?
Videos                   Like · Reply · 5w

About
                                The Dragon Box No question is stupid, the update will
                                prompt you to update and walk you through the steps
Notes
                                                                                              1
                                Like · Reply · 5w
Info and Ads
                              View more replies

 Create a Page
                         Michael March Yeah that's my question how do we go about
                         updating the box now can you please give a instruction
                         Like · Reply · 5w

                                The Dragon Box You will get a pop up follow instructions
                                its 2 clicks on the remote
                                Like · Reply · 5w

                              View more replies


                         Marie Foley-Clyde How do I update my DB5? I’ve always had
                         issues with the updates.
                         Like · Reply · 5w

                                The Dragon Box it will be coming tomorrow       2
                                Like · Reply · 5w

                              View more replies


                         Liane Currie Patterson I have no update
                         Should it be there already?
                         Like · Reply · 5w

                                The Dragon Box It’s coming be patient please we’re
                                working on it.
                                                                                              1
                                Like · Reply · 5w

                              View more replies


                         Juan Sanchez Has anybody done the update successfully or is it
                         not ready yet?
                         Like · Reply · 5w

                                The Dragon Box It’s getting released tonight
                                Like · Reply · 5w

                              View more replies


                         John Barrieau Trying to update and it downloads fine then I get an
                                                               The Dragon Box's Post                         Chat (66)

                                                              Exhibit H
                                                                -26-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 27 of 94 Page ID #:441
                         error message. Any ideas?
        The Dragon Box                                                                             Liz   Home   Create
                         Like · Reply · 5w

                                The Dragon Box its being worked on          2
                                Like · Reply · 5w

                              View more replies


                         Achraf EL Badaai We still have the kodi updater on the box ?
                         Like · Reply · 5w

                                The Dragon Box No
                                Like · Reply · 5w

The Dragon Box
                         Brad Tugman So Kodi can still be downloaded and used?
@TheDragonBox
                         Like · Reply · 5w
Home
                              View previous replies

Shop
                                The Dragon Box Yes
Posts                           Like · Reply · 5w

Photos                        View more replies

Community                Denise Lewis Just to clarify...we need to manually run this update
                         before you push the new format?
Videos
                         Like · Reply · 5w
About
                                The Dragon Box No we will push the update
Notes
                                Like · Reply · 5w

Info and Ads                  View more replies


 Create a Page           AndresBecky Torres What are the steps for DB4
                                                                                2
                         Like · Reply · 5w

                              View previous replies


                                The Dragon Box Clint Walker thats correct wait
                                for the update
                                Like · Reply · 5w

                              View more replies


                         Darren Mai Bermudez Updates for both db4 and db5?
                         Like · Reply · 5w

                                The Dragon Box yes sir        2
                                Like · Reply · 5w


                         Jim Shearl With blend TV..I have dragon box for one TV..if I get a
                         fire stick for my second TV will I be able to watch shows on both TV
                         with blend family package?
                         Like · Reply · 5w

                                The Dragon Box YES
                                Like · Reply · 5w


                         Stacey Corbett So I just read up on some of the other post dragon
                         box has made an what I'm reading is.....we no longer can have a
                         box without paying monthly for anything....correct???? Or will it still
                         work but not for live tv?
                         Like · Reply · 5w


                         Jim Shearl With blend TV..I have dragon box for one TV..if I get a
                         fire stick for my second TV will I be able to watch shows on both TV
                         with blend family package?
                         Like · Reply · 5w


                         Albert Lopez Jr. Is the update today for the db5 plus only?
                         Like · Reply · 5w                        The Dragon Box's Post                     Chat (66)

                                                                  Exhibit H
                                                                    -27-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 28 of 94 Page ID #:442

        The Dragon Box           Clint Walker When do the east coast get the download for the db4         Liz   Home   Create
                                 and5
                                 Like · Reply · 5w


                                 Dave Strong Outa luck if it’s not connected to internet? or will it be
                                 able to update in the future ? My db4 is up North hasn’t worked
                                 since January
                                 Like · Reply · 5w


                                 SteveRayne MccabeTomori Any news on the DB4 update?
                                 Like · Reply · 5w


                                 Josue Dsm When update ?
The Dragon Box                   Like · Reply · 5w
@TheDragonBox
                                 Rich Emery .
Home
                                 Like · Reply · 5w
Shop
                                 Aiko Fernandez How do I update?
Posts
                                 Like · Reply · 5w

Photos
                                 Brian Mirelez .
Community                        Like · Reply · 5w

Videos
                                 Richard Perez .
About                            Like · Reply · 5w

Notes                            Chloe Keller Aaron Pysher        1
Info and Ads                     Like · Reply · 5w


 Create a Page
                                 Debby D LeDrew Kathleena Fernandez
                                 Like · Reply · 5w



                                 The Dragon Box
                                 February 8 ·



                            EULA
                            EULA Agreement

                            End User License Agreement
                            (FOR STREAMING PLAYER)
                            IMPORTANT: READ THIS END USER LICENSE AGREEMENT
                            CAREFULLY BEFORE YOU USE A DRAGON MEDIA INC.
                            STREAMING PLAYER. ALSO REVIEW THE IMPORTANT
                            PRODUCT INFORMATION THAT MAY HAVE BEEN PROVIDED
                            WITH YOUR DRAGON MEDIA INC. STREAMING PLAYER.
                            Overview
                            See More


                               14                                                       12 Comments 1 Share


                                     Like                    Comment                    Share


                         Most Relevant


                                 Write a comment...


                                 Nicholas Fringuelli How do i watch nfl redzone on the box?
                                 Like · Reply · 7w

                                         The Dragon Box you subscribe to Blend TV
                                         Like · Reply · 7w              The Dragon Box's Post                      Chat (66)

                                                                        Exhibit H
                                                                          -28-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 29 of 94 Page ID #:443
                                         View more replies
        The Dragon Box                                                                                    Liz   Home   Create

                                 Shawn T. Moore How much is it to make it stream fight pass. My
                                 hdr has amazon, my PS4 has wwe and my xfinity has Netflix. All I
                                 need is my fight pass.
                                 Like · Reply · 6w

                                          The Dragon Box Ill get back to you on that not much
                                          though
                                          Like · Reply · 6w

                                         View more replies

                         View 10 more comments

The Dragon Box
@TheDragonBox                    The Dragon Box
                                 October 26 at 12:57 PM ·
Home
                         DB5 V2 Product (Shopify for MailChimp) -
Shop

Posts

Photos

Community

Videos

About

Notes

Info and Ads

 Create a Page
                         MAILCHI.MP
                         DB5 V2 Product (Shopify for MailChimp)

                            1                                                                       1 Comment


                                      Like                    Comment                  Share


                         Most Relevant


                                 Write a comment...


                                 Eric Martin Is blend TV shutting down?
                                 Like · Reply · 2d

                                          The Dragon Box We’re figuring it out and will release a
                                          statement soon
                                          Like · Reply · 2d

                                         View more replies



                                 The Dragon Box
                                 October 26 at 12:56 PM ·

                         It doesn't get any better than this!




                                                                         The Dragon Box's Post                     Chat (66)

                                                                        Exhibit H
                                                                          -29-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 30 of 94 Page ID #:444

        The Dragon Box                                                                                 Liz   Home   Create




The Dragon Box
@TheDragonBox

Home                       DB5 V2                                                DB5 V2


Shop
                            1
Posts

Photos                                 Like                    Comment                Share

Community
                                    Write a comment...
Videos

About
                                    The Dragon Box
Notes                               October 26 at 12:50 PM ·

                         Lowest pricing ever, grab your DB today!
Info and Ads

 Create a Page




                         DRAGONBOX.BIZ
                         DB5 V2
                         Welcome to the Next Level of Streaming Blend TV, & The Dragon Box DB…

                                2                                                                1 Comment


                                       Like                    Comment                Share


                         Most Relevant


                                    Write a comment...

                         View 1 comment



                                    The Dragon Box
                                    October 21 at 6:13 PM ·

                         SHAMELESS MID-SEASON FINALE!
                         Don't Miss the Mid-Season Finale of America's Greatest Family on
                         Shameless!
                         To busy to catch it, forgot to DVR it? No Problem we got you covered with
                         our AUTO 7-Day DVR.... See More
                                                                         The Dragon Box's Post                  Chat (66)

                                                                         Exhibit H
                                                                           -30-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 31 of 94 Page ID #:445

        The Dragon Box                                                                                     Liz   Home   Create




The Dragon Box
@TheDragonBox
                                 5                                                                 2 Comments

Home
                                     Like                        Comment                Share
Shop
                         Most Relevant
Posts

Photos                           Write a comment...

Community                        Carmen Lopez Still trying to set up blend tv without success, can
                                 someone plz forward the new manual so I can print it. I did Microsoft
Videos                           word and can't open it. Naiyab427@gmail.com

About
                                 ACCOUNTS.GOOGLE.COM
Notes                            Gmail
                                                                                                       2
Info and Ads                     Like · Reply · 1w

                                         View previous replies
 Create a Page
                                          The Dragon Box Carmen Lopez You can get blendtv from
                                          the google play store or perhaps I could log into your box
                                          and try to update it for you
                                          Like · Reply · 6d

                                         View more replies


                                 Daniel Reyes Fix the old ones        2
                                 Like · Reply · 1w

                                          The Dragon Box Makes no sense
                                          Like · Reply · 1w



                                 The Dragon Box
                                 October 20 at 6:57 PM ·

                         BlendTV info on how to report issues directly to Our tech support team.
                         There are 4 ways to get support or report issues.
                         1. While on a specific channel or any channel there is a ? On the menu, click
                         it and you will be prompted to report your issue and leave a comment. ...
                         See More

                         BLENDTV.NET
                         Live TV Streaming Service - BlendTV
                         Watch on all your favorite devices! Movies, TV shows, Sports, and News,
                         Cloud-PVR, 7-day Playback and watch on the go options! More Channels,
                         Lower Prices...

                            2


                                     Like                        Comment                Share


                                 Write a comment...

                                                                           The Dragon Box's Post                    Chat (66)

                                                                           Exhibit H
                                                                             -31-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 32 of 94 Page ID #:446

        The Dragon Box              See More                           Liz   Home   Create




The Dragon Box
@TheDragonBox

Home

Shop

Posts

Photos

Community

Videos

About

Notes

Info and Ads

 Create a Page




                                               The Dragon Box's Post            Chat (66)

                                               Exhibit H
                                                 -32-
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                                  Exhibit I




                                     Exhibit I
                                       -33-
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                                     Exhibit I
                                       -34-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 35 of 94 Page ID #:449




                                Exhibit J




                                     Exhibit J
                                       -35-
    Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 36 of 94 Page ID #:450
                                                                                                                                                       1
        The Dragon Box                                                                                 Liz   Home      Create




The Dragon Box
@MyTVZone

Home

Shop
                                Like       Follow       Share                                                        Shop Now                    Send Message
Posts

Photos
                                   The Dragon Box                                                                      Responsive to messages
Community                          November 9 ·

                         BlendTV Update:
Videos                                                                                                        What's New
                         We are going through some issues with BlendTV powered by Omniverse.
About                    We are not sure what happened but BlendTV got its content pulled which                     See new items in the shop.
                         directly affected us and we are trying to get this fixed or get the content back
Notes
                         up.
Info and Ads             We have BlendTV until the 26th Of November and then Flixon or Omniverse              Community                                       See All
                         is pulling the content so BlendTV will no longer work, we will have some free
                                                                                                                    Invite your friends to like this Page
Create a Page            content in BlendTV and you will not be billed if you had renewed your
                         subscriptions moving forward until we're able to provide a service.                        11,075 people like this

                         Between when we get cut off and when we get systems restored I have                        11,200 people follow this
                         another option, FuboTv.
                         Check it out at: https://www.fubo.tv/welcome?irad=343747&irmp=1328073                About                                           See All
                         if your interested in being an affiliate let me know I can get you involved with
                                                                                                                    Typically replies within an hour
                         sub-affiliate links.                                                                       Send Message

                                                                                                                    www.thedragonbox.com

                                                                                                                    Electronics · Shopping & Retail

                                                                                                                    Price Range $

                                                                                                                    Hours
                                                                                                                    Always Open

                                                                                                                    Suggest Edits


                                                                                                              Pages Liked by This Page



                                                                                                                          The Dragon Box 242 …                    Like

                         FUBO.TV
                         Watch & DVR Live Sports & TV Online | fuboTV
                         Stream and record live sports and TV from FOX, NBC, beIN SPORTS,…                                BlendTv                                 Like


                            1

                                                                                                                          Dragonbox North Cou…                    Like
                                       Like                 Comment                 Share


                                   Write a comment...

                                                                                                              English (US) · Español · Português (Brasil) ·
                                                                                                              Français (France) · Deutsch
                                   The Dragon Box
                                   February 8 ·                                                               Privacy · Terms · Advertising · Ad Choices      ·
                                                                      The Dragon Box's Post                       Chat· (72)
                                                                                                              Cookies    More
                                                                      Exhibit J
                                                                        -36-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 37 of 94 Page ID #:451




                                 Exhibit K




                                     Exhibit K
                                       -37-
7KH1HZ'UDJRQ%R['%9	%OHQG796WDUW\RXU'D\)UHH7ULDO1RZ                3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 38 of 94 Page ID #:452


  6XEVFULEH       3DVW,VVXHV                                                              7UDQV



                                    9LHZWKLVHPDLOLQ\RXUEURZVHU




       ¬ The New Dragon Box DB5 V2 and BlendTV Have Finally Arrived


       Dragon Media Inc. is one of the first companies that pioneered
       streaming for the TV. We are now a legal licensed¬Tier One Cable TV
       Authorized Distributor!


       We have pushed updates to all our devices to comply with the industry
       and keep delivering the best user experience we can. We no longer
       support KODI, any addons or builds.




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                Exhibit K
                                                   -38-
7KH1HZ'UDJRQ%R['%9	%OHQG796WDUW\RXU'D\)UHH7ULDO1RZ                3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 39 of 94 Page ID #:453


       We make Dragon Box streaming players that connect to your TV. Just
       connect them to the Internet, set up a BlendTV account, and start
       streaming. The Dragon Box is a more convenient and cost-effective
       way to watch TV.


       ¬ Buy a Dragon Box DB5 V2 They are on sale for $125.00 Use our
       Promo Code: BlendTV for 25.00 off at checkout, and try our 7day
       free trial of BlendTV you will not be disappointed!


                              Buy Now & Watch 7 Days Free




                                  RIIZLWKWKLVFRGH


                                  %OHQG79
                                        1RH[SLUDWLRQGDWH



                                           %X\1RZ




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                Exhibit K
                                                   -39-
7KH1HZ'UDJRQ%R['%9	%OHQG796WDUW\RXU'D\)UHH7ULDO1RZ                3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 40 of 94 Page ID #:454




       '%9
       


                                                  9LHZ




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                                         2XUPDLOLQJDGGUHVVLV
                                          &LUFXOR6DQWLDJR
                                           &DUOVEDG&$




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                Exhibit K
                                                   -40-
7KH1HZ'UDJRQ%R['%9	%OHQG796WDUW\RXU'D\)UHH7ULDO1RZ                   3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 41 of 94 Page ID #:455



                               :DQWWRFKDQJHKRZ\RXUHFHLYHWKHVHHPDLOV"
                        <RXFDQXSGDWH\RXUSUHIHUHQFHVRUXQVXEVFULEHIURPWKLVOLVW




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                Exhibit K
                                                   -41-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 42 of 94 Page ID #:456




                                 Exhibit L




                                     Exhibit L
                                       -42-
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                                     Exhibit L
                                       -43-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 44 of 94 Page ID #:458




                                 Exhibit M




                                     Exhibit M
                                       -44-
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                                     Exhibit M
                                       -45-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 46 of 94 Page ID #:460




                                 Exhibit N




                                     Exhibit N
                                       -46-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 47 of 94 Page ID #:461




                                     Exhibit N
                                       -47-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 48 of 94 Page ID #:462




                                 Exhibit O




                                     Exhibit O
                                       -48-
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                                     Exhibit O
                                       -49-
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 50 of 94 Page ID #:464




                                 Exhibit P




                                     Exhibit P
                                       -50-
$OOVXEVFULEHUVWR%OHQGFDQUHVLJQXSXQGHU0\79+XEORJLQWKURXJK%OHQG79          3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 51 of 94 Page ID #:465


  6XEVFULEH       3DVW,VVXHV                                                              7UDQV



                                    9LHZWKLVHPDLOLQ\RXUEURZVHU




       Hello,¬


       ¬ We wanted to apologize with the BlendTv issue we got it resolved and




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                 Exhibit P
                                                   -51-
$OOVXEVFULEHUVWR%OHQGFDQUHVLJQXSXQGHU0\79+XEORJLQWKURXJK%OHQG79          3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 52 of 94 Page ID #:466


       have a new affiliate service up.


       My TV Hub is replacing BlendTV, You do not have to anything for the
       service to work on any device other than¬just create¬a new
       account¬and subscribe or login to your old account and resubscribe then
       simply log in to the service through the BlendTV App. You can also find
       the My TV Hub App in the Google Play Store or Amazon Store. Roku
       and iOs in the next 48 hours.

       https://www.mytvhub.net


       ¬ We no longer support KODI, any addons or builds or anything that
       assists or facilitates copyright infringement.

       We are now content providers, our¬content works on any box or device
       on the market. Just connect it to the Internet, set up a My Tv
       Hub¬account, and start streaming. My¬Tv Hub is a more convenient and
       cost-effective way to watch TV.

       If you have not¬yet please Try our 7day free trial of My Tv Hub you
       will not be disappointed!



       Check it out at¬https://www.mytvhub.net


                                       Watch 7 Days Free




                               Copyright © 2018 DM Inc. All rights reserved.



                                         2XUPDLOLQJDGGUHVVLV
                                          &LUFXOR6DQWLDJR
                                           &DUOVEDG&$




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                 Exhibit P
                                                   -52-
$OOVXEVFULEHUVWR%OHQGFDQUHVLJQXSXQGHU0\79+XEORJLQWKURXJK%OHQG79             3DJHRI
Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 53 of 94 Page ID #:467

                               :DQWWRFKDQJHKRZ\RXUHFHLYHWKHVHHPDLOV"
                        <RXFDQXSGDWH\RXUSUHIHUHQFHVRUXQVXEVFULEHIURPWKLVOLVW




KWWSVPDLOFKLPSWKHGUDJRQER[ZHUHEDFNZLWKWKHQHZGUDJRQER[GEYDQGRXUQH 
                                                 Exhibit P
                                                   -53-
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                                Exhibit Q




                                     Exhibit Q
                                       -54-
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                                                                                                                                                               1
        The Dragon Box                                                                                         Liz   Home      Create




The Dragon Box
@MyTVZone

Home

Shop
                                Like       Follow       Share                                                                Shop Now                    Send Message
Posts

Photos
                                   The Dragon Box                                                                              Responsive to messages
Community                          November 30 at 2:23 PM ·

                         I have some great news, as I always have in the past I get things done and I
Videos                                                                                                                What's New
                         have a solution for BlendTV.
About                    We will have a new service up and on the boxes by Monday or Tuesday. No                            See new items in the shop.
                         one will have to update all you will have to do is go to a new website and
Notes
                         resubscribe and log in and the content will be there plus more.
Info and Ads             Sorry for any trouble anyone has had this was out of my control but as                       Community                                       See All
                         always I do not quit or give up and I find solutions!
                                                                                                                            Invite your friends to like this Page
Create a Page
                         Resellers that are signed up all stays the same for you and you can start
                                                                                                                            11,075 people like this
                         promoting this week and start rebuilding those residuals and were still
                         looking for more affiliates so message us for more info.                                           11,200 people follow this
                         Thank you all, this should be the last of any drama or problems we will
                         encounter.                                                                                   About                                           See All

                            3                                                                        1 Comment              Typically replies within an hour
                                                                                                                            Send Message
                                       Like                   Comment                     Share                             www.thedragonbox.com

                                                                                                                            Electronics · Shopping & Retail
                         Most Relevant
                                                                                                                            Price Range $
                                   Write a comment...
                                                                                                                            Hours
                                                                                                                            Always Open
                                   John J J Kretzer So I have just updated my box. The only way to
                                   use it is if I only sign up for blend tv " purchase a subscription "?                    Suggest Edits
                                                                                                           1
                                   Like · Reply · 1w
                                                                                                                      Pages Liked by This Page


                                   The Dragon Box
                                   February 8 ·                                                                                   Enter The Dragon Box                    Like



                            EULA
                                                                                                                                  BlendTv                                 Like
                            EULA Agreement
                            End User License Agreement
                            (FOR STREAMING PLAYER)                                                                                Dragonbox North Cou…                    Like
                            IMPORTANT: READ THIS END USER LICENSE AGREEMENT
                            CAREFULLY BEFORE YOU USE A DRAGON MEDIA INC.
                            STREAMING PLAYER. ALSO REVIEW THE IMPORTANT
                            PRODUCT INFORMATION THAT MAY HAVE BEEN PROVIDED                                           English (US) · Español · Português (Brasil) ·
                            WITH YOUR DRAGON MEDIA INC. STREAMING PLAYER.                                             Français (France) · Deutsch

                            Overview                                                                                  Privacy · Terms · Advertising · Ad Choices      ·
                                                                          The Dragon Box's Post                           Chat· (72)
                                                                                                                      Cookies    More
                                                                          Exhibit Q
                                                                            -55-
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                                 Exhibit R




                                     Exhibit R
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                        Netflix Studios, Inc. et al. v. Dragon Media, Inc. et al.
                                    Representative List of Works

                                                                 Registration
    Title                       Copyright Registrants                               Registration Date
                                                                 Number
    The Amazing Spider-         Columbia Pictures Industries,
    Man 2                       Inc.
    Into the Woods              Disney Enterprises, Inc.         PA1-932-175                2/11/2015

                                Paramount Pictures
    Daddy’s Home                                                 PA1-960-100               10/23/2015
                                Corporation
                                Twentieth Century Fox Film
    Deadpool                    Corporation; TSG                 PA1-977-152                 3/4/2016
                                Entertainment Finance LLC
                                Twentieth Century Fox Film
    War for the Planet of the
                                Corporation; TSG                 PA2-044-947                7/25/2017
    Apes
                                Entertainment Finance LLC
                                Universal City Studios
    Jurassic World              Productions LLLP; Amblin         PA1-946-359                6/10/2015
                                Entertainment LLC
                                Universal City Studios
    The Purge – Anarchy                                          PA1-908-605                7/17/2014
                                Productions LLLP
                                Warner Bros. Entertainment
    Wonder Woman                Inc.; Ratpac-Dune                PA2-036-078                 6/6/2017
                                Entertainment LLC
    Harry Potter and the        Warner Bros. Entertainment
    Order of the Phoenix        Inc.




                                               Exhibit R
                                                 -57-
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                                 Exhibit S




                                     Exhibit S
                                       -58-
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Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accordance with title 17, United States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has          Registration Number
                        been made a part of the Copyright Office records.
                                                                                           PA 1-932-175
                                                                                           Effective Date of Registration:
    •'870
                                   (XAlc^I A-                o,^A—IL
                                                                                           February 11, 2015

                           Register of Copyrights, United States of America


   Title
                             Titie of Work:     INTO TH E WOODS


   Completion/Publication
                     Year of Completion:        2014
                  Date of 1st PubHcation:       October 24, 2014
                 Nation of 1^' Publication:     Korea (South)

   Author

                       •        Author:         Five Beans Productions Limited
                        Author Created:         entire motion picture. Script as spoken text.
                     Work made for hire:        Yes
                             Citizen of:        United Kingdom

   Copyright Claimant

                     Copyright Claimant:        Disney Enterprises, Inc.
                                                500 S. Buena Vista, Burbank, CA, 91521, United States
                      Transfer statement:       Assignment

   Limitation of copyright claim

     Material excluded from this claim:         preexisting music. Based on the Musical Play of the same Title by STEPHEN
                                                SONDI lEIM and JAMES LAPINE.

        New material included in claim:         all other cinematographic material. Script as spoken text.

   Certification

                                  Name:         Gary Young Lim
                                   Date:        January 05, 2015
            Applicant's Tracking Number:        146903


                       Correspondence:          Yes
                  Copyright Office notes:       Regarding deposit: Special Relief granted under 202.20(d) of CO. regulations.



                                                                                                                      Page 1 of 1

                                                           Exhibit S P
                                                          EXHIBIT
                                                             -59-- 057
                                                         KLAUS
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                                     Exhibit S
                                       -60-
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                       Registrations:    PA0001932175
                    Service Request S:   1 -2034946312




 The Walt Disney Company
 Gary Young Lim
 500 S. Buena Vista Street RODl54
 Burbank, CA 91521-1258 United States




                                                   Exhibit S
                                                     -61-
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                                     Exhibit S
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                                 Exhibit T




                                     Exhibit T
                                       -63-
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                                     Exhibit T
                                       -64-
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                                     Exhibit T
                                       -65-
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                                 Exhibit U




                                     Exhibit U
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                                 Exhibit V




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                                 Exhibit W




                                     Exhibit W
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                                     Exhibit W
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                                     Exhibit W
                                       -74-
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                                 Exhibit X




                                     Exhibit X
                                       -75-
  Case 2:18-cv-00230-MWF-AS Document 46-1 Filed 12/20/18 Page 76 of 94 Page ID #:490
Certificate of Registration
                        ~-



                       'This Certifinlle issued under the seal of th~
                       Olhce in accordance with ti!k 17, United States Code.
                        atksts that             has bet~n made k1r the work
                        irknU!1cd belmv. The int{JrnBHon on this certiticate has
                                                                                               Registration Number
                        been made a par! of the             Office records.
                                                                                             PA 1-889-675
                                                                                                 Effecth·e date of
                                                                                                   registration:
                                                United States of Ameri..:a                        Aprill6, 2014




  Title---------------------------
                             Title of Work: THE AMAZING SPIDER-MAN 2
         Previous or Alternative Title:      Spider-Man 5 (2014)

  Completion/Publication - - - - - - - - - - - - - - - - - - - - -
                  Year of Completion:        2014
               Date of 1st Publication:      April 16, 2014                  Nation oflst Publication: Belgium

  Author
                   •              Author:    Columbia Pictures Industries, Inc.

                       Author Created:       entire motion picture

                  Work made for hire:        Yes
                             Domiciled in:   United States

  Copyright claimant
                 Copyright Claimant:         Columbia Pictures Industries, Inc.
                                             10202 W. Washington Blvd., Culver City, CA 90232-3195 United States

  Limitation of copyright claim
     Material excluded from this claim:      script/screenplay, preexisting footage, preexisting photograph(s), preexisting
                                             music, previously published books, magazines, newspapers, artwork, posters
                                             and computer/ internet software I programs. Based on the Marvel Comics
                                             character Spider-Man and related characters, along with the motion pictures
                                             SPIDER-MAN (2002), SPIDER-MAN 2 (2004), SPIDER-MAN 3 (2007)
                                             and THE AMAZING SPIDER-MAN (2012).




        Pre\ious registntion and year:       PAU003712670 2014
       New material included in claim:       all other cinematographic material, production as a motion picture


  Certification


                                                              Exhibit X                                                       Page 1 of 2
                                                                -76-
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                     Name:    Michael Kramer
                      Date:   Aprill6, 2014




             Correspondence: Yes




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                                                -77-
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      Registration#: PA0001889675
   Service Request#: 1-1336061272




                   Sony Pictures Entertainment Inc.
                   Michael Kramer
                   10202 W. Washington Blvd.
                   SPP 1006
                   Culver City, CA 90232-3195 United States


                                                  Exhibit X
                                                    -78-
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                                 Exhibit Y




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                                 Exhibit Z




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                                Exhibit AA




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                                Exhibit BB




                                    Exhibit BB
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                                Exhibit CC




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